             Case 4:07-cr-00223-JRH-GRS Document 117 Filed 04/01/08 Page 1 of 2



             UNITED STATES DISTRICT COURT                          III. ANALYSIS
            Sqp1Hl1sN DISTRICT OF GEORGIA
2008 APR - I Au I i 4 T INAH DIVISION
                                                                      The CJA (18 U.S.C. § 3006A(d)(1)) provides
 4" UNITED STATES OF AMERICA                                       that at the conclusion of CJA representation,
    .........                                                      appointed counsel shall be compensated for time
      V.                                 407CR223                  reasonably expended in and out of court plus
                                                                   reasonable expenses. Id. 18 U.S.C. §
      AARON L. BROWNE                                              3006A(d)(2) limits trial-level compensation to
                            ORDER
                                                                   "$7,000 for each attorney in a case where one or
                                                                   more felonies are charged" and $5,000 per
      I. INTRODUCTION                                              attorney on appeal. Id.

         Before the Court in this "drugs-and-guns"                    Under § 3006A(d)(3), this Court can waive
      criminal case is attorney Maury B. Rothschild's              the statutory maximum if it specifically finds
      Criminal Justice Act (CJA) request for                       and certifies that the case was "extended" or
      $12,129.94 in attorney fees and costs for her                "complex." Id. "Extended is defined as a case
      representation of defendant Aaron L. Browne.                 requiring more time than the normal case. A
      See M. B. Rothschild CJA voucher form with                   complex case is defined as one involving facts
      supporting 3/20/08 letter and worksheet                      unusual so as to justify expenditure of more
      documentation.' Because this request exceeds                 time, skill and effort than normal."
      the $7,000 statutory maximum, 18 U.S.C. §                    Grabowiecka, 2007 WL 1695375 at * 1.
      3006A(d)(2), the Court must "certitly] that the
      amount of the excess payment is necessary to                    So if the legal or factual issues in a case are
      provide fair compensation." 18 U.S.C. §                      unusual, thus requiring the expenditure of more
      3006A(d)(3). See, e.g., U.S. v.                              time, skill and effort by the lawyer than would
      Grabowiecka, 2007 WL 1695375 at *                            normally be required in an average case, the case
      (S.D.Fla. 6/8/07) (unpublished).                             may be considered "complex." Guidelines for
                                                                   the Administration of the Criminal Justice Act
      II. BACKGROUND                                               and Related Statutes, Vol. 7, Guide to Judiciary
                                                                   Policies and Procedures, Sec. A, Ch. 2, Part C §
         The charges in this case stemmed from a                   2.22B(3). If more time is reasonably required
      marijuana importation scheme, doe. #1 at 1, and              than the average case, including pre-trial and
      Rothschild points out that, while this case was              post-trial hearings, the case may be considered
      pending, Browne also faced a South Carolina-                 "extended." Id.
      based indictment for marijuana importation.
      Counsel's research, investigation and                           Rothschild's showing fails to meet the
      negotiation culminated in Browne's plea to an                excess-compensation criteria. Legions of "guns
      information in this Court. Rothschild 3/20/08                and drugs" cases have marched before this
      Ltr. at 1-2. He has since been sentenced.                    Court, and the work performed in this case easily
                                                                   fits within the norm for litigating them. Citing
                                                                   "complexities" and "voluminous discovery" is
                                                                   something pretty much any defense lawyer can
                                                                   do; the Court discerns nothing beyond the norm
                                                                   here. For that matter, note the Court's 3/5/08,
        The Court's CJA administrator reviewed and adjusted
      some of the amounts on this application. The Clerk is        $6090.33 total CJA compensation approval for
      directed to file the entire fee application in the record.   co-defendant Qing Hong Xiang's counsel.
      Case 4:07-cr-00223-JRH-GRS Document 117 Filed 04/01/08 Page 2 of 2



   It is, of course, not for the taxpayers to
subsidize the ongoing educational requirements
of this Court's bar members, who are obligated
-- since this is a trial bar -- to be available for
criminal defense representation. See S .D.LOC.R.
83.11. A good portion of what is perceived as
"excess" hours devoted to criminal defense work
represents the cost of each lawyer's professional
obligation to society, not to mention
membership in this Court's bar. In that nothing
in the instant record suggests that the legal issues
in this case were significantly greater than the
average, $6000 for counsel's time, plus the
$552.54 she seeks for costs, is the more
reasonable amount to award here. Accordingly,
the Court awards counsel $6,552.54.

III. CONCLUSION

   The CJA fee petition of attorney Maury B.
Rothschild is GRANTED in part and DENIED
in part.

   This Jay




UNITED STATES DISRICT COURT
SOUTHERN DISTRI(T OF GEORGIA
